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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION

IRA D. SOCOL,
          Plaintiff

vs.                                           Civil Action No. 3:18CV00090

                                                    ORDER

ALBEMARLE COUNTY SCHOOL BOARD, et al.,
       Defendants


      This matter is before the Court on joint motion for continuance of the jury

trial. Finding good cause, it is now

                                    ORDERED

that the trial of this case shall be and hereby is continued from February 9-12, 2021

to August 18-20, 2021.

      Given the continuance, and the pending mediation, now scheduled for

January 29, 2021, the following new deadlines are established:

      Close of Discovery:               June 4, 2021
      Filing of Dispositive Motions:    June 18, 2021
      Hearing on Motions:               Mid July, 2021
      Jury Trial:                       August 18-20, 2021

      The Clerk is directed to send certified copies of this Order to all parties and

counsel of record.

      ENTER:         This 29th day of December, 2020.

                                              s/ Glen E. Conrad
                                              Senior United States District Judge
